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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK

_____________________________________________


CARLOS A. SANTIAGO and MELISSA A.
LAFFREDO,
                                                         AMENDED
                                 Plaintiffs,        SCHEDULING ORDER
                                                    19-CV-6860 FPG/MJP
vs.

CITY OF ROCHESTER, et al.,

                                 Defendants.

_____________________________________________


      A conference having been held with the parties on January 27, 2021, in which

certain deadlines contained in the Court’s previously issued scheduling order were

amended, therefore, it is:

      ORDERED that:

      1.     This case has been referred automatically to the Court’s Alternative

             Dispute Resolution (“ADR”) program.       The ADR Plan and related

             forms and information are available at www.nywd.uscourts.gov and

             the Court Clerk’s Office.

             a.     No later than thirty days following the rendering of the decision

                    by the Hon. Frank P. Geraci of the pending Rule 12 motion in

                    Santiago, et al v. City of Rochester, et al., 19-CV-6859 FPG/MJP,

                    the parties shall confer and select a mediator, confirm the
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            mediator’s availability, ensure that the mediator does not have a

            conflict with any of the parties in the case, identify a date and

            time for the initial mediation session, and file a stipulation

            confirming their selection on the form provided by the Court. If

            the parties fail to so stipulate, the Court shall appoint an ADR

            neutral.

      b.    Any motions to opt out of the ADR process shall be filed by no

            later than fourteen days following the rendering of the decision

            by the Hon. Frank P. Geraci of the pending Rule 12 motion in

            Santiago, et al v. City of Rochester, et al., 19-CV-6859 FPG/MJP.

      c.    The initial mediation session shall be held no later than forty-

            five days after the selection of the mediator.

      d.    The referral to mediation shall terminate on sixty days following

            the first mediation session. In the event that settlement is not

            reached, the case will progress toward trial, as scheduled below.

      e.    The referral of this case to mediation will not delay or defer

            other dates contained in this Scheduling Order and has no effect

            on the progress of the case toward trial.

2. All document discovery in this case shall be completed on or before

   July 29, 2021. Plaintiff is to provide authorizations by May 13, 2021,

   and interrogatories by June 1, 2021.

3. All motions to compel discovery shall be filed by June 30, 2021.



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4. All factual witness depositions shall be completed on or before

   October 28, 2021.

5. Plaintiff shall identify any expert witnesses and provide reports pursuant

   to Fed. R. Civ. P. 26 by January 3, 2022.

6. Defendants shall identify any expert witnesses and provide reports

   pursuant to Fed. R. Civ. P. 26 by January 31, 2022.

7. All parties shall complete all discovery relating to experts, including

   depositions, by March 31, 2022.

8. Dispositive motions, if any, shall be filed no later than May 31, 2022.

   Unless a consent to proceed before this Court is filed, such motions shall

   be made returnable before Judge Geraci.

9. A trial date status conference pursuant to Fed. R. Civ. P. Rule 16(e) and

   Local Rule 16 will be held, if necessary, at a date and time to be

   determined by the trial judge after determination of dispositive motions.

   If no dispositive motions are filed, counsel shall immediately contact the

   trial judge so that a trial date status conference can be scheduled.

   At least seven (7) days prior to the trial date status conference, the parties

   shall file a joint case status report setting forth the information described

   below. If the parties disagree as to the information to be provided, the

   report must set forth their different responses. The joint status report

   shall contain:




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      a. Nature of the Case: Set forth a brief description of the action,

         identifying the parties, all counsel of record, the relief requested,

         any affirmative defenses and any relationship the case may have to

         other pending actions.

      b. Motion Practice: Are any motions, dispositive or non-dispositive,

         pending? If so, briefly describe the motion. Explain if additional

         motion practice is necessary before the matter is ready to be tried.

      c. Settlement: Describe the status of settlement negotiations. If the

         parties believe a court supervised settlement/mediation conference

         would be of assistance in resolving the case or narrowing disputed

         issues, please state.

      d. Trial: State whether the case is ready for trial. If not, explain why.

         Set forth an estimate of how long the trial will take and whether

         the case is jury or non-jury.

10. Requests to extend the above cut-off dates may be granted upon written

   application, made prior to the cutoff date, and showing good cause for the

   extension. Application for extensions should be made to the Magistrate

   Judge. Joint or unopposed requests to extend the deadlines set forth in

   this order need not be made by formal motion, but rather may be sought

   in a letter to the court. Letter requests must detail good cause for the

   extension and propose new deadlines.




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    11. The Court requires that should any discovery dispute arise between the

         parties that a letter be sent to the Court detailing the dispute prior to any

         motion practice.

SO ORDERED.

DATED:      January 27, 2021
            Rochester, New York
                                              __________________________________
                                              MARK W. PEDERSEN
                                              United States Magistrate Judge




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